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     < Buying and selling crypto



     Crypto transfers
     Transferring crypto into and out of your Robinhood Crypto account is fast and easy. You can
     consolidate your coins into one account so it’s easier to track your portfolio, move supported coins
     into your Robinhood account so you can trade those coins without commission, and more.

     When it comes to crypto, it’s important that you—and only you—can transfer coins into or out of your
     Robinhood Crypto account.

     To enable crypto transfers, you’ll need to verify your identity and add two-factor authentication to
     your account. After you complete those steps, it can take up to 5 business days to review your info
     and enable crypto transfers with Robinhood.




     Verify your identity
     You’ll need to verify your identity with:


              A photo of your government-issued ID: Acceptable forms of ID include a driver’s license, state
              ID, passport, passport card, or permanent resident card.

              A live photo of yourself: You might be asked to take a selfie with your mobile device or webcam.
              Make sure you’re in a well-lit place to take your photo.




     Add two-factor authentication
     Two-factor authentication (2FA) provides an additional layer of security to your account. 2FA makes it
     much harder for attackers to gain access to both of these, which helps protect you in case an
     attacker learns your password. 2FA is more secure because it requires 2 sources of verification:
     Something you know (your password) and something you have (the code you generate or receive on
     your device)



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          1. Set up an authenticator app: First, you’ll need to download an authentication app—we support
              many major third-party apps, including:


              Google Authenticator: iPhone, Android

              Duo Mobile: iPhone, Android

              Authy: iPhone, Android


         2. Confirm your mobile number: You’ll get a code in a text message to the phone number linked to
              your Robinhood account. When prompted, enter that code to confirm your phone number.

         3. Verify your email address: We’ll send an email to the email address associated with your
              Robinhood account. Select the link in the email to confirm your email address.

         4. Select Account → Settings

         5. Select Security and privacy, select Two-Factor Authentication

         6. Toggle the feature to the On setting

          7. Choose the authentication app

          8. Select Open App

         9. Confirm that you’d like to add Robinhood

         10. Copy the verification code generated by your authentication app, and when prompted, paste it
              into your Robinhood app

         11. You’ll receive an emergency backup code from Robinhood that allows you to log in if you ever
              lose access to your device. Be sure to save this code in a secure place, such as within a
              password manager, saving a screenshot in a password-protected folder, or writing it down and
              locking it in a safe.




     How to send crypto

          1. Go to the crypto’s detail page

         2. Select Send

         3. Enter the amount you’d like to send

         4. Paste the crypto address of the receiving wallet

         5. Select Review → Submit




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     Transfer limits and fees
     Transfer limits: You can send up to $5,000 worth of crypto or make up to 10 transfers total in a 24-
     hour period.

     Crypto bought on Robinhood using Instant cannot be withdrawn until those transactions settle,
     which can take approximately up to 5 business days.

     Transfer fees: Every on-chain crypto transaction incurs a network fee— sometimes called a miner fee
     or gas fee. The amount of the fee depends on, among other things, the coin and how many other
     transactions are happening on the coin’s network. We’ll always let you know what the network fee
     estimate is before you finalize a transfer out of your Robinhood Crypto account.

     When you send a coin on Robinhood, we’ll estimate the network fee and add it to the amount you
     want to send. For example, if you send 100 DOGE and the network fee is 1 DOGE, a total of 101 DOGE is
     then sent to the network.

     When you select the Send All option, the estimated network fee will be deducted from the total
     amount you send. For example, if you send all 100 DOGE in Robinhood Crypto account and the
     network fee is 1 DOGE, the recipient address will receive 99 DOGE.

     ERC-20 transfer fees: You can transfer ERC-20 tokens, such as Chainlink (LINK), Compound (COMP),
     Polygon (MATIC), Shiba Inu (SHIB), and Solana (SOL), Uniswap (UNI) and USD Coin (USDC).

     When withdrawing ERC-20 tokens on the Ethereum blockchain, you pay the network fee in Ether
     (ETH). However, with Robinhood, you don’t need an ETH balance to complete an ERC-20 token
     transfer. Robinhood automatically calculates the ETH equivalent and debits your ERC-20 token
     balance directly. We’ll estimate the network fee and add it to the amount you want to send.

     Polygon transfer fees: MATIC is the native token on the Polygon network. Similar to ERC-20 tokens,
     Robinhood automatically calculates the estimated network fee and debits your Polygon (MATIC)
     balance for withdrawals.




     How to receive crypto
     Transfer crypto into your Robinhood account for our robust security, crime insurance, and
     commission-free trading.


          1. Go to the crypto’s detail page

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         2. Select Receive

         3. Copy your crypto address

         4. Paste the address into the receiving wallet app


     Supported coins

     You can receive the following coins currently in Robinhood:


              Aave (AAVE)

              Avalanche (AVAX)*

              Bitcoin (BTC)

              Bitcoin Cash (BCH)

              Cardano (ADA)*

              Chainlink (LINK)

              Compound (COMP)*

              Dogecoin (DOGE)

              Ethereum (ETH)

              Ethereum Classic (ETC)

              Litecoin (LTC)

              Polygon (MATIC)**

              Shiba Inu (SHIB)*

              Solana (SOL)*

              Stellar Lumens (XLM)*

              Tezos (XTZ)*

              Uniswap (UNI)*

              USD Coin (USDC)**


     Make sure you only transfer the coins listed above—any unsupported coins sent to your Robinhood
     account may be lost and the transactions are irreversible. This includes ERC-20 tokens and NFTs sent
     to a Robinhood Ethereum address.

     *Not available for trading in New York. Polygon (MATIC) is also not available for trading in New York,
     and USD Coin is not available for trading in New York or Texas.



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     **Multi-chain coins: Some coins support multi-chain deposits and withdrawals that you can send or
     receive on multiple blockchains. Robinhood now offers multi-chain transfers on the Polygon (MATIC)
     network. You can transfer Polygon (MATIC) on either the Ethereum or Polygon network.

     IMPORTANT: Addresses on different networks might not be cross-compatible. Before transferring,
     always confirm that the address and network match, and that the platform receiving the funds
     supports the network they are sent on.




     Which states have access to Robinhood Crypto transfers?
     Robinhood Crypto transfers are currently available in every US state and the District of Columbia,
     except for Hawaii, Nevada, and New York. We’re working hard to make Robinhood Crypto available in
     those states as soon as possible.




     Transfer fees and timing
     Transfer fees: We don’t charge any extra fees to receive crypto. Any transaction fees collected by a
     crypto network will be deducted from the sender’s crypto address.

     Timing: We require a certain number of network confirmations before crypto is credited to your
     Robinhood account. The number of confirmations may vary depending on, among other things,
     network conditions. Under ordinary conditions, this process can take up to a few hours. We also
     review each transfer for security and safety reasons, which typically takes just a few minutes but on
     rare occasions it could take longer. We'll let you know in the app as soon as your crypto is available.




     KEEP IN MIND

     Never send crypto back to a Robinhood address you received it from. The crypto address we use for
     withdrawals is not the same as your deposit address. Only send crypto to your deposit address, which
     can be found by tapping Receive on each crypto detail page. Sending crypto to an incompatible
     address might result in a loss.




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     Supported address formats for crypto withdrawals
     Crypto can have different types of address formats depending on the receiving wallet.

     Robinhood currently supports the following address formats for withdrawals. If you try to use an
     unsupported address format, your transaction won't be submitted. We’re working on adding support
     for additional address types.


              Avalanche (AVAX): We currently support Avalanche addresses with a C-Chain (Contract Chain)
              address starting with an “0x”. We don't support addresses from the X-Chain (Exchange Chain)
              or P-Chain (Platform Chain).

              Bitcoin (BTC): We currently support Bitcoin address formats that start with a “1” (P2PKH), “3”
              (P2SH) and “bc1q" (Native SegWit/Bech32). We don't currently support lightning network
              transactions or address formats that start with “bc1p” (taproot).

              Bitcoin Cash (BCH): We currently support Bitcoin Cash address formats that start with a “1”
              (Legacy P2PKH), or “q” (Cashaddr P2PKH). We do not support Bitcoin Cash address formats
              that start with “bitcoincash:q.” However, you can simply remove the “bitcoincash:” section of
              the address prefix and it will convert the address into a standard “q” address.

              Cardano (ADA): We currently support both Byron and Shelley address formats. Byron wallet
              address formats that start with "Ae2" and "DdzFF," and Shelley wallet address formats that start
              with "addr1."

              Dogecoin (DOGE): We currently support Dogecoin addresses that start with “D” (P2PKH).

              Ethereum (ETH), Aave (AAVE), Chainlink (LINK), Compound (COMP), Shiba Inu (SHIB), Uniswap
              (UNI), and USD Coin (USDC): We currently support withdrawals to Ethereum addresses (EOA)
              and contract addresses (smart contracts).

              Ethereum Classic (ETC): We currently support Ethereum Classic addresses that start with “0x”
              but please note that we don't currently support Ethereum Classic withdrawals to smart
              contracts. If you attempt to withdraw ETC to a smart contract you’ll receive an unsupported
              address error even if the address starts with “0x.”

              Litecoin (LTC): We currently support Litecoin address formats that start with an “L” (P2PKH),
              “M” (P2SH), and “ltc1" (Native SegWit/Bech32). We don't currently support P2SH addresses
              that begin with "3.”

              Polygon (MATIC), USD Coin (USDC): We currently support withdrawals only for addresses on
              Ethereum or Polygon networks. Before transferring, always confirm that the address and

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              network match, and that the platform receiving the funds supports the network they are sent
              on.

              Solana (SOL), USD Coin (USDC): We currently support withdrawals to Solana addresses (SOL).

              Stellar Lumens (XLM): If a Stellar address begins with a “G” then it's a standard address, in
              need of a separate memo for custodial accreditation of funds. This memo is provided by the
              receiving party. Unfortunately, if the address starts with “M” it's a muxed account with the ID
              included in the address, this address typo isn't currently supported for Stellar withdrawals by
              Robinhood.

              Tezos (XTZ): We currently support Tezos address formats that start with a “tz”.




     KEEP IN MIND

     Only send crypto to the same blockchain (for example, only bitcoin can be sent to a Bitcoin address).
     In practice, Bitcoin (BTC) and Bitcoin Cash (BCH) share some of the same address formats, but
     sending bitcoin to a Bitcoin Cash address will likely result in a loss of funds.




     Why did my deposit address change?
     Your deposit addresses can change for some of the crypto with Robinhood. We do this for privacy, so
     that a third party cannot easily associate your activity to your address.

     The following coin addresses change each time you send a deposit.


              ADA

              BCH

              BTC

              DOGE

              LTC


     Unless otherwise indicated, all deposit addresses we provide to you are unique and will remain
     attributed to your account, meaning deposits sent to any previous deposit addresses will be credited
     if the deposit is accepted. However, we suggest using a new address for each deposit to Robinhood
     wherever possible for your financial privacy.
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     Starting March 17, 2023, crypto deposit addresses generated before August 1, 2022 for BTC, BCH,
     DOGE, ETC, and LTC will no longer be supported. Any crypto deposited to these legacy addresses may
     not be recoverable.

     For ERC20, ETH, and SOL deposits, your deposit address won't change. This is because of the unique
     account-based model shared by these blockchains.

     Get more information about address and QR code safety in Security best practices.




     Tips for staying safe when transferring crypto

          1. Double check you’re transferring the right coin to the right address


              Crypto addresses are only compatible with specific coins. For example, sending litecoin to a
              Bitcoin address will result in the loss of your litecoin. And since crypto transfers are irreversible,
              there’s no way to return the litecoin to the sender.

              This also applies to coins that have similar names or symbols—sending ETC to an ETH address
              will result in the loss of those coins.

              Also, sending unaccepted coins across a similar network won't be credited or returned. This
              can include unsupported ERC20 tokens being sent to ETH or ETC receiving addresses.


         2. Double check you’re sending to the right wallet address


              Crypto addresses are long strings of characters, which can make it difficult to distinguish one
              address from another. Getting even one character wrong can result in your crypto being lost.

              When entering a wallet address, it’s recommended to copy and paste the address or scan a QR
              code. Avoid manually entering an address whenever possible.

              It’s also a good idea to compare the crypto address you’ve entered with the address you intend
              to use. One way to do this is to compare the first and last 5 characters of the addresses to make
              sure they match.


         3. Watch out for QR code scams


              Be careful using a QR code to scan a crypto address because it can lead you to fraudulent sites
              or phishing scams.

              When using your Robinhood QR code to receive funds, always make sure the address scanned
              matches the address shown in your app.

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              When scanning a QR code outside of Robinhood, make sure you are only scanning QR codes
              from a trusted source. Also, make sure the full address matches the one you scanned and
              intended to send to.


         4. Double check how much crypto you’re transferring


              Unlike dollars, crypto can be divisible into very small amounts. A bitcoin, for example, can be
              divided into eight decimal places. When entering an amount of crypto to transfer, double check
              your decimal places to make sure you’re transferring the intended amount.


         5. Double check the security of your crypto accounts


              Enabling crypto transfers means your coins can be sent outside of Robinhood. Once crypto is
              sent out of your Robinhood account, the transaction can’t be reversed. This makes security
              incredibly important. Make sure you’re using a strong, unique password—we recommend using
              a password manager—and also checking the security settings of the device you’re using for
              two-factor authentication. For more information, check out Security best practices.




     KEEP IN MIND

     Crypto transfers are irreversible and unauthorized activity can result in the loss of funds. By following
     the tips above, you can reduce the risk of loss due to account security issues.




     Reading your transaction in a block explorer
     Each blockchain transaction has a unique identifier otherwise known as a transaction hash (TxID).
     When transferring crypto, we’ll provide you with a link that allows you to see the status of your
     transaction on the blockchain. This link goes to a third-party block explorer—a website that allows
     you to view your transactions’ live status on the blockchain.

     When navigating a block explorer, you’ll want to make sure that the transaction hash you want to
     search matches the one shown on the explorer (if you select a block explorer link from Robinhood,
     your transaction will automatically be populated).

     When looking at your transaction hash, the most relevant pieces of information are:


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              The number of confirmations the transaction has received. This is a key indicator of
              approximately how long it will take until your transaction is finalized. We require crypto deposits
              to reach a certain number of blockchain confirmations before being credited to your account.

              The recipients of the transaction. If depositing crypto to Robinhood, one or more of the
              receiving addresses will be your address. If withdrawing, one or more of the receiving
              addresses will be the intended receiving party.

              The sender of the transaction. If depositing crypto into Robinhood, this will be your crypto
              address or that of a third party. If you're withdrawing from Robinhood, the sending address will
              show up on the blockchain as a Robinhood managed crypto address. Never send crypto back to
              a Robinhood crypto address that you received a withdrawal from. If you send crypto back to that
              listed address, the crypto won't reach your account. The address shown there is part of a
              safeguard to protect your assets.


     Check out Block Explorer Disclosure for details.




     KEEP IN MIND

     Not all senders and recipients (sometimes known as inputs and outputs) of a blockchain transaction
     will be you. Due to the way that many crypto trading platforms batch multiple withdrawals at a time,
     many transactions may be included in a single transaction hash.




     Crypto deposit processing times
     Robinhood requires crypto deposits to reach a certain number of references (confirmations) on the
     blockchain, before being credited to your account.

     Processing times for crypto deposits vary based on the type of crypto. The following lists the
     confirmation requirements by crypto type and an estimated completion time based on the respective
     blockchain.


              Avalanche (AVAX): 20 confirmations (approximately 20 seconds)

              Bitcoin (BTC): 6 confirmations (approximately 1 hour)

              Bitcoin Cash (BCH): 15 confirmations (approximately 3 hours)


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              Cardano (ADA): 30 confirmations (approximately 10 minutes)

              Dogecoin (DOGE): 20 confirmations (approximately 20 minutes)

              Ethereum (ETH), Aave (AAVE), Chainlink (LINK), Compound (COMP), Shiba Inu (SHIB), Uniswap
              (UNI), and USD Coin (USDC): 30 confirmations (approximately 5 minutes)

              Ethereum Classic (ETC): 1,200 confirmations (approximately 6 hours)

              Litecoin (LTC): 12 confirmations (approximately 30 minutes)

              Tezos (XTZ): 30 confirmations (approximately 15 minutes)

              Polygon (MATIC): 15 confirmations (approximately 4 minutes)

              Solana (SOL): 1 confirmation (approximately 5 minutes)

              Stellar Lumens (XLM): 1 confirmation (approximately 5 seconds)




     NOTE

     The amount of confirmations required for a crypto deposit are subject to change. The actual
     processing times can vary from their estimates depending on the network’s status.




     FAQ

     Do I have access to my private keys?


     How can I get my own keys?


     What happens if I send crypto that isn’t supported on Robinhood?


     Can I reuse crypto addresses?


     Is there a fee to send crypto?


     Can I sell crypto that I receive into my Robinhood account?


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     Do you support NFTs?


     Do you support airdrops, forks, or ICOs?


     Do I need to hold Ether (ETH) to withdraw ERC-20 tokens from my account?


     Can I pay for the transfer using my ETH balance?


     Can I transfer Polygon (MATIC) from an Ethereum address to a Polygon address or vice versa?




     Disclosures
     This is not investment advice, a recommendation, an offer to sell, or a solicitation of an offer to buy
     any security or crypto.

     Crypto trading is offered through an account with Robinhood Crypto (NMLS ID 1702840).

     Trading in crypto comes with significant risks, including volatile market price swings or flash crashes,
     market manipulation, and cybersecurity risks. In addition, crypto markets and exchanges are not
     regulated with the same controls or customer protections available in equity, option, futures, or
     foreign exchange investing. Several federal agencies have also published advisory documents
     surrounding the risks of virtual currency. For more information, see the Robinhood Crypto Risk
     Disclosure, the CFPB's Consumer Advisory, the CFTC’s Customer Advisory, the SEC’s Investor Alert,
     and FINRA’s Investor Alert.


     Reference No. 2912782



     Still have questions? Contact Robinhood Support




      Brokerage Customer Relationship Summary
      FINRA’s BrokerCheck




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      Brokerage services are offered through Robinhood Financial LLC, (RHF) a registered broker dealer (member SIPC)
      and clearing services through Robinhood Securities, LLC, (RHS) a registered broker dealer (member SIPC).
      Cryptocurrency services are offered through Robinhood Crypto, LLC (RHC) (NMLS ID: 1702840). Robinhood Crypto is
      licensed to engage in virtual currency business activity by the New York State Department of Financial Services. The
      Robinhood spending account is offered through Robinhood Money, LLC (RHY) (NMLS ID: 1990968), a licensed money
      transmitter. A list of our licenses has more information. The Robinhood Cash Card is a prepaid card issued by Sutton
      Bank, Member FDIC, pursuant to a license from Mastercard®. Mastercard and the circles design are registered
      trademarks of Mastercard International Incorporated. RHF, RHY, RHC and RHS are affiliated entities and wholly owned
      subsidiaries of Robinhood Markets, Inc. RHF, RHY, RHC and RHS are not banks. Products offered by RHF are not FDIC
      insured and involve risk, including possible loss of principal. RHC is not a member of FINRA and accounts are not
      FDIC insured or protected by SIPC. RHY is not a member of FINRA, and products are not subject to SIPC protection,


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      but funds held in the Robinhood spending account and Robinhood Cash Card account may be eligible for FDIC pass-
      through insurance (review the Robinhood Cash Card Agreement and the Robinhood Spending Account Agreement).


      Options trading entails significant risk and is not appropriate for all customers. Customers must read and understand
      the Characteristics and Risks of Standardized Options before engaging in any options trading strategies. Options
      transactions are often complex and may involve the potential of losing the entire investment in a relatively short
      period of time. Certain complex options strategies carry additional risk, including the potential for losses that may
      exceed the original investment amount.


      Commission-free trading of stocks, ETFs and options refers to $0 commissions for Robinhood Financial self-directed
      individual cash or margin brokerage accounts that trade U.S. listed securities and certain OTC securities
      electronically. Keep in mind, other fees such as trading (non-commission) fees, Gold subscription fees, wire transfer
      fees, and paper statement fees may apply to your brokerage account. Check out Robinhood Financial’s Fee Schedule
      for details.


              View important disclosures


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